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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF INDIANA
HAMMOND DIVISION

IN RE ) Chapter 13
CORY L SOLLER . CASE NO. 12-21418-KL-13
Debtor(s)
ORDER GRANTING MOTION FOR RELIEF FROM STAY AND ABANDONMENT
BECAUSE PLAN PROPOSES TO SURRENDER PROPERTY

The Motion for Relief From Stay and Abandonment Because Plan Proposes to Surrender
Property of Bank of America, N.A., (hereinafter referred to as "Bank of America"), having come
before the Court. |

And the Court, having examined said Motion and being duly advised in the premises, and
having found that the Debtor(s) intend to abandon their interest in the real estate and that there
exists no equity in said real estate, and having found that said intention to abandon and lack of
equity in the subject real estate constitutes sufficient cause for relief from stay, it is therefore,

ORDERED AND ADJUDGED: That the Motion for Relief From Stay and Abandonment
Because Plan Proposes to Surrender Property filed by Bank of America, N.A. be, and hereby is,
granted; it is further,

ORDERED AND ADJUDGED: That the Court hereby orders the abandonment of the
subject real estate located in LaPorte County, Indiana:

THE WEST 1/2 OF THE NORTH 1/2, OF THE WEST 1/2 OF LOT 20 IN CHENEYS

SUBDIVISION WHICH IS RECORDED IN PLAT BOOK 2 PAGE 41, IN THE

OFFICE OF THE RECORDER OF LAPORTE COUNTY, INDIANA.

More commonly known as 204 Hendricks St, Michigan City, IN 46360-5162
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ORDERED AND ADJUDGED: That the automatic stay as it relates to the property
commonly known as 204 Hendricks St, Michigan City, IN 46360-5162 is vacated.
ORDERED AND ADJUDGED: That the 14 Day Stay of this Order imposed by B.R.

4001(a)(3) is hereby waived.

DATED: Y wai Nw , 2014
\h LA

ENT LINDQUIST, JUDGE
UNITED STATES BANKRUPTCY COURT
Northern District of Indiana

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